     Case 6:20-cr-00097-JCB-JDL Document 278 Filed 09/22/21 Page 1 of 1 PageID #: 795
                               IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF TEXAS
                                          TYLER DIVISION

 UNITED STATES OF AMERICA, §

                                                         § CASE NUMBER 6:20-CR-00097-JCB
 v-                                     §



 DUSTY RAQUEL DUDLEY (7), §



                      CONSENT TO ADMINISTRATION OF GUILTY PLEA AND
                                    FED. R. CRIM. P. 11. ALLOCUTION
                               BY UNITED STATES MAGISTRATE JUDGE

       The United States Magistr te Judge has informed me of my right to have my plea taken by the district

judge and after discussing this matter with my counsel, I hereby voluntarily agree and consent to have United

States Magistrate Judge, JOHN D. LOVE, hear the guilty plea and make findings as to whether the plea was

knowingly and voluntarily entered, and to recommend to the District Court whether the plea should be accepted.

I understand that my guilty plea is subject to approval and final acceptance by a United States District Judge and

that sentencing will be conducted by a United States District Judge.




Signed: Wednesday, September 22, 2021




                                                            Assistant United States Attorney
